      Case:18-01011-SDB Doc#:5-1 Filed:07/02/18 Entered:07/02/18 15:21:14                                   Page:1 of 1
                          UNITED STATES BANKRUPTCY COURT
                                            Southern District of Georgia

In the matter of:

Robert B. Norland and Kimberly L. Norland
Chapter 7 Case No. 17−10785−SDB
       Debtor(s)

Joseph E. Mitchell, III, Chapter 7 Trustee for Robert
B. Norland & Kimberly L. Norland
       Plaintiff(s)
                                                            Adversary Proceeding
vs.                                                         No. 18−01011−SDB
Brickyard Holdings, LLC
       Defendant(s)

                                         SUMMONS IN ADVERSARY PROCEEDING

YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this summons to the
clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except that the United States and its
offices and agencies shall submit a motion or answer to the complaint within 35 days.

                                             Clerk, United States Bankruptcy Court
                                                     Federal Justice Center
                                                     600 James Brown Blvd
                                                         P.O. Box 1487
                                                      Augusta, GA 30903

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

                                                      James S.V. Weston
                                                     3527 Walton Way Ext.
                                                      Augusta, GA 30909

If you make a motion, your time to answer is governed by Bankruptcy Rule 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT TO ENTRY
OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR
THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                                  Lucinda Rauback, CLERK
                                                                                  United States Bankruptcy Court
                                                                                  Federal Justice Center
                                                                                  600 James Brown Blvd
                                                                                  P.O. Box 1487
                                                                                  Augusta, GA 30903




Date of issuance: July 2, 2018

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